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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

IN RE:

CASE NO. 16-0967l-JMC-7A

EMILY MARIE MUNOZ
DEBTOR.

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AGREED ENTRY RESOLVING DOCS #63 AND #66
Come now Trustee Gregory K. Silver, by counsel and Wells Fargo Bank, N.A. (“Wells
Fargo”), by counsel and for this Agreed Entry, state:
l. Debtor, Emily Marie Munoz filed Chapter 7 herein on December 29, 2016 where
Gregory K. Silver is trustee.
2. Among the assets is real estate at 11403 High Timber Drive, Indianapolis, Indiana
encumbered by a mortgage of Wells Fargo.
3. Trustee filed his Motion for Authority to Sell Real Estate Pursuant to Private Sale
Free and Clear of Liens (Doc #63) and Wells Fargo filed a Response to Motion to Sell (Doc #66)
in which it objected to the Trustee’s Motion; no other party objected to the Motion to Sell.
4. The parties have now negotiated an agreement to sell, subject to the approval of
the Court, and per contract and the Addendum attached.
5. The Purchase is modified as follows:
° Sale price: $104,000 per Contract and Addendum as shown on attached
“Combined Final Closing Statement”.
° The contracted buyer’s premium of $7,000 in the original Purchase
Agreement attached to the Motion to Sell and subsequently modified in
Addendum to the Purchase Agreement, is approved providing a separate

payment at closing of $3,500 (including $500 each off the 3 real estate

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commissions due from the sale plus buyer’s $2,000) for payment of $1,750
trustee fee and $1,750 to Hester Baker Krebs LLC attorneys, and are not sales
proceeds nor other funds of any kind due to Wells Fargo but additional
transactional fees due per the said Purchase Agreement as modified by the
Addendum attached and is acknowledged by this Agreed Entry.

6. The parties believe this to be in the best interest of the estate.

WHEREFORE, Gregory K. Silver, Trustee and Wells Fargo, each by counsel, enter into

this Agreed Ently to resolve all matters.

Respectfiilly submitted,
I-IESTER BAKER KREBS LLC
Counsel for Trustee
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MANLEY DEAS KOCHALSKI LLC
Counsel for Wells Fargo Bank, N.A.

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on January 3, 2018, a copy of the foregoing was
filed electronically. Notice of this filing will be sent to the following parties by operation of the
Court’s electroic filing system. Parties may access this filing through the Court’s system.

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Anthony David Shull inn@geracilaw.com

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U.S. Trustee ustpregionlO.in.ecf@usdoj.gov

/S/ Christopher E. Baker
Christopher E. Baker

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APPROVED AND ACCEPTED ,

 

 

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